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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 BREANNE MAGGIO, on behalf of herself
 and all others similarly situated,

                                Plaintiff,
                                                     Case No.
                        v.
                                                     CLASS ACTION COMPLAINT
 THE PROCTER & GAMBLE COMPANY,
                                                     DEMAND FOR JURY TRIAL
 One Procter & Gamble Plaza, Cincinnati, OH
 45201, and RAINFOREST ALLIANCE,
 INC., 125 Broad Street, New York, NY
 10004,

                                Defendants.


                                             PREAMBLE

       Plaintiff Breanne Maggio (“Plaintiff”), individually and on behalf of herself and other

similarly situated individuals, by and through her counsel, hereby files this Class Action Complaint

for equitable relief and damages against Defendants The Procter & Gamble Company (“P&G”)

and Rainforest Alliance, Inc. (“RA”) concerning their false and deceptive marketing

representations of Charmin toilet paper (“Charmin”) and Puffs tissue (“Puffs”) products

(collectively, “the Products”) as “sustainable” and helping to “protect, grow, and restore trees.”

The sourcing and production of Charmin and Puffs contributes to environmentally destructive and

unsustainable forest degradation, including clearcutting of the climate-critical and biodiverse

Canadian Boreal Forest. Reasonable consumers seeking to buy sustainable and responsibly

sourced paper products are misled both by P&G’s advertising and marketing of Charmin and Puffs

products as unqualifiedly “sustainable” and RA’s independent representations that the products

are RA-certified, when they are not. RA’s “Forest Allies” seal depicted on the Products also

misleads consumers into believing that the Products are RA-certified and/or beneficial to forest



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ecosystems, when the opposite is true. Plaintiff alleges the following based upon personal

knowledge, information, belief, and the investigation of Counsel:

                                               INTRODUCTION

          1.    Plaintiff brings this class action lawsuit on behalf of herself and similarly situated

consumers (“Class Members”) who purchased Defendant P&G’s RA-certified Charmin toilet

paper and Puffs tissues, which are advertised as environmentally friendly despite unsustainable

supply chain practices. The Products are formulated, designed, manufactured, advertised,

distributed, and sold by P&G or its agents to consumers, including Plaintiff, across the United

States.

          2.    Defendant P&G was founded over 180 years ago and is now “the world’s largest

consumer goods company.”1

          3.    According to U.S. Census data and the Simmons National Consumer Survey, 86.27

million Americans used Charmin Ultra in 2020 alone.2

          4.    P&G manufactures and sells the Products, both in store and through online retailers.

          5.    The Hoberg Paper Company founded Charmin in 1928. The company changed its

name to Charmin Paper Company in 1950, and P&G acquired it in 1957.

          6.    After purchasing Charmin in 1957, P&G replaced Charmin Facial Tissues with the

creation of Puffs tissues in 1960.




          1
          About Us, P&G, https://www.pgcareers.com/about-us (last visited Mar. 13, 2025).
          2
          See U.S. population: which brands of toilet paper do you use most often?, Statista (Feb. 5, 2024),
https://www.statista.com/statistics/275967/us-households-most-used-brands-of-toilet-paper/.


                                                     2
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         7.        On the packaging of Charmin, Defendant P&G represents that the Products are

sourced in accordance with the “Charmin Sustainability Promise” that promotes three pillars or

actions: “protect, grow, and restore,” as seen in the image below.3




         8.        P&G also makes expansive sustainability representations on its webpages for

Charmin, described in further detail below, including that Charmin products help to “protect, grow,

restore” trees.4




         3
               Charmin      Ultra    Soft     Super   Mega     Roll   2-Ply     Toilet     Paper,     Giant     Food,
https://giantfood.com/product/charmin-ultra-soft-super-mega-roll-2-ply-toilet-paper-6-ct-pkg/228640 (last visited
Mar. 31, 2025).
          4
            See Sustainability, Charmin, https://www.charmin.com/en-us/sustainability (last visited Mar. 13, 2025).


                                                         3
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         9.       P&G, however, sources Charmin and Puffs from mills that engage in

environmentally destructive and unsustainable logging practices that lead to extensive forest

degradation, including clearcutting of the climate-critical and biodiverse Canadian Boreal Forest. 5

         10.      Each year, industrial logging operations clearcut approximately one million acres

of intact forest in the Canadian boreal, equivalent to five National Hockey League rink–size areas

every minute.6

         11.      Industrial logging companies are the main culprits for this clearcutting and do so to

meet demand for wood products—of which the United States is Canada’s largest purchaser.7 Much

of this logging goes to make toilet paper, paper towels, and facial tissues that consumers use once

and then throw away.8

         12.      This rapid clearcutting of forests has many negative environmental consequences,

including the destruction of wildlife habitats, which threatens imperiled species like caribou and

many migratory songbirds that rely on intact forests for breeding. 9


         5
            See Dominick A. DellaSala, et al., Measuring forest degradation via ecological-integrity indicators at
multiple spatial scales, 302 Biological Conservation 110939 (2025), https://doi.org/10.1016/j.biocon.2024.110939;
see also You’ve Heard Charmin’s Spin, Now Here Are the Facts, NRDC (Aug. 2020)
https://www.nrdc.org/sites/default/files/pg-charmin-boreal-truths-fs.pdf. (noting that, according to conversations with
P&G representatives and market research, Charmin suppliers include Aditya Birla’s AV Terrace Bay mill, Domtar’s
Dryden mill, and Resolute Forest Products’ Thunder Bay mill. Based on the most recent available Forest Management
Unit (FMU) annual reports, these mills receive pulp from the following FMUs: Black Spruce Forest, English River
Forest, Lac Seul Forest, Lake Nipigon Forest, Kenogami Forest, Red Lake Forest, Trout Lake Forest, and Whiskey
Jack Forest).
         6
               See Canada’s Boreal Forest: Why It’s So Important, NRDC (Jul. 1, 2022),
https://www.nrdc.org/stories/canadas-boreal-forest-why-its-important; see also Dominick A. DellaSala et al., Red-
Listed Ecosystem Status of Interior Wetbelt and Inland Temperate Rainforest of British Columbia, Canada, 10 Land
775 (2021), https://doi.org/10.3390/land10080775; Brendan Mackey et al, Assessing the Cumulative Impacts of Forest
Management on Forest Age Structure Development and Woodland Caribou Habitat in Boreal Landscapes: A Case
Study from Two Canadian Provinces, 13 Land 6 (2024), https://doi.org/10.3390/land13010006.
         7
            United States Wood Imports by country in US$ Thousand 2022, World Integrated Trade Solution,
https://wits.worldbank.org/CountryProfile/en/Country/USA/Year/LTST/TradeFlow/Import/Partner/by-
country/Product/44-49_Wood (last visited Mar. 31, 2025).
         8
           Id.
         9
            See You’ve Heard Charmin’s Spin, Now Here Are the Facts, supra note 5; see also Caribou (Boreal
population), Ontario Ministry of the Environment, Conservation and Parks, https://www.ontario.ca/page/caribou-
boreal-population (last visited Mar. 31, 2025); Amended Recovery Strategy for the Woodland Caribou (Rangifer



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        13.      Sourcing from the Canadian Boreal Forest also exacerbates climate change by

transferring carbon stored in forests and soils to the atmosphere. 10

        14.      Manufacturing paper products from virgin forest fiber creates three times the

carbon emissions as toilet paper made with 100% recycled content.11 It also causes air pollution as

the production of pulp from virgin fiber generates twice as many hazardous air pollutants and 40%

more sulfur dioxide as recycled tissue.12

        15.      This conduct leads to forest degradation, which occurs when forest ecosystems lose

their capacity to provide important services to people and nature.

        16.      The logging activities that go into producing P&G products are a form of

degradation that affect boreal forests at local (forest stands) and landscape (wide stretches)

scales.13

        17.      Defendant RA is an international non-governmental organization (“NGO”)

incorporated in New York with offices throughout the United States, and which, among other

things, certifies consumer products for their sustainability.




tarandus caribou), Boreal population, in Canada [Proposed] 2019, Environment and Climate Change Canada (Nov.
27, 2020) https://www.canada.ca/en/environment-climate-change/services/species-risk-public-registry/recovery-
strategies/woodland-caribou-boreal-2019.html; Steve Lundeberg, Bird populations in eastern Canada declining due
to     forest     ‘degradation,’      research shows,     Oregon    State     University    (Apr.     28,     2022),
https://news.oregonstate.edu/news/bird-populations-eastern-canada-declining-due-forest-‘degradation’-research-
shows.
          10
              See Logging Emerges as Canada’s Third Largest Climate Polluter, Nature Canada (Sept. 4, 2024),
https://naturecanada.ca/news/press-releases/logging-emerges-as-canadas-third-largest-climate-polluter/; see also Jay
R. Malcolm, Bjart Holtsmark & Paul W. Piascik, Forest Harvesting and the Carbon Debt in Boreal East-Central
Canada, 161 Climatic Change 433 (2020), https://doi.org/10.1007/s10584-020-02711-8.
          11
             Shelley Vinyard and Jennifer Skene, Unrolling Charmin’s Sustainability Claims, NRDC (Mar. 12, 2019),
https://www.nrdc.org/bio/shelley-vinyard/unrolling-charmins-sustainability-claims.
          12
             Id.
          13
             DellaSala, et al., supra note 5.


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        18.      RA represents to consumers that its certification “represent[s] our strict

sustainability requirements,” which include “protect[ing] and improv[ing] “[f]orests,” “[c]limate,”

“[h]uman [r]ights,” and “[l]ivelihoods.”14




        19.      RA receives payment from companies that wish to have their products certified.15




        14
              What Does “Rainforest Alliance Certified” Mean?, Rainforest Alliance (Nov. 13, 2024),
https://www.rainforest-alliance.org/insights/what-does-rainforest-alliance-certified-mean/.
          15
             Rainforest Alliance License Agreement General Terms and Conditions, Rainforest Alliance (Dec. 20,
2024) at 2, https://www.rainforest-alliance.org/resource-item/rainforest-alliance-license-agreement-general-terms-
and-conditions/ (RA’s license agreement states “Royalties. RA charges Royalties to licensees based on traded volumes
of Certified Products. The rate charged varies by crop as set forth in the Royalty Schedule and is charged once to a
specific party in the Certified Supply Chain. ORGANIZATION agrees to inform RA of any change in volume that
affects the amount of the Royalty to be paid.”).


                                                         6
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         20.      RA purports that the products it certifies are “audited against sustainability

standards based on the triple bottom line: environmental, economic, and social well-being,”16 for

a “more resilient and inclusive future.”17

         21.      The RA website represents that Charmin Products are RA certified. This is false.

         22.      Further, major retailers selling P&G products continue to advertise Charmin as

“Rainforest Alliance certified.”18

         23.      Separately, both products display the RA Forest Allies logo on their packaging,

which appears nearly identical to the RA certification seal. See infra ¶ 28.

         24.      RA’s online representation of the products as certified, along with the use of the

Forest Allies logo on package, lead reasonable consumers to believe that the Products are RA

certified, when they are not.

         25.      In fact, the “Forest Allies” program does not certify nor perform any audits and has

no connection with the Products or their sourcing whatsoever.

         26.      Instead, the Forest Allies program is “a community of practice focusing on

protecting, restoring, and enabling responsible management of tropical forests.” 19 P&G is one of

two founding members of the Forest Allies program, which merely requires members to pay annual




         16
             2020 Certification Program, Rainforest Alliance, https://www.rainforest-alliance.org/for-business/2020-
certification-program/ (last visited Mar. 31, 2025).
          17
             Advances for People and Nature in Our Certification Program, Rainforest Alliance (Aug. 10, 2020),
https://www.rainforest-alliance.org/insights/advances-for-people-and-nature-in-our-certification-program/.
          18
             P&G’s Family Care Brands Share New Sustainability Goals Focused on Forestry, P&G (Oct. 4, 2019),
https://us.pg.com/blogs/new-sustainability-goals-forestry/ (noting that “Charmin [is] also Forest Stewardship
Council® (FSC®), and Rainforest Alliance certified. For every tree we use, at least one is regrown. We will go even
further to increase acres of certified forests, strengthen certification globally, and accelerate research into alternative
fiber approaches.”)
          19
             Forest Allies, Rainforest Alliance, https://www.rainforest-alliance.org/business/forest-allies/ (last visited
Mar. 13, 2025).


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dues. The program materials do not specify how the funds are used, other than stating that the

membership fees go towards “projects or locations around the world in need of resources.” 20

        27.      The Forest Allies program does not certify products and does not perform any

audits of product supply chains.

        28.      By utilizing the Forest Allies logo (which looks nearly identical to the RA seal but

for the words beneath the frog) and through its representations that the Products are RA certified,

RA misleads consumers into believing that the Products are RA certified. Below are images of the

RA certification seal (left) and the Forest Allies logo (right).




        29.      Defendant P&G’s representations that the Products are “sustainable” and help to

“protect, grow, and restore” trees mislead consumers into believing that the Products are not made

using environmentally damaging processes, when in fact, the Products are the result of forest

degradation practices, including clearcutting of primary forests.

        30.      Further, Defendant P&G’s representations that the Products are RA certified, when

they are not, are false and misleading to consumers.




        20
            Forest Allies: Join Our Community of Practice, Rainforest Alliance (Oct. 2020), https://www.rainforest-
alliance.org/wp-content/uploads/2020/11/Forest-allies-twopager-final.pdf.


                                                        8
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       31.     Defendant P&G’s use of the Forest Allies logo, which is nearly identical in

appearance to the RA certification seal, is misleading to consumers.

       32.     Similarly, Defendant RA’s representations on its consumer-facing website that

Charmin Products are RA certified are false and misleading to consumers.

       33.     Defendant RA’s involvement in creating the Forest Allies program and logo and

continuing to allow P&G to use the Forest Allies logo on Charmin Products further misleads

consumers into believing that Charmin is an RA certified product, when it is not.

       34.     Thus, Defendants’ marketing is false and misleading to consumers.

       35.     Accordingly, Plaintiff brings her claims against Defendants individually and on

behalf of a class of all others similarly situated for (1) violations of the New York General Business

Law § 349; (2) violations of the New York General Business Law § 350, (3) violations of all other

state consumer protection statutes, (4) breaches of express warranty, (5) breaches of implied

warranty, and (6) unjust enrichment.


                                             PARTIES

       36.     Plaintiff Maggio is an individual consumer who is currently a citizen of Valley

Stream, New York.

       37.     During the Class Period, Plaintiff Maggio purchased the Products approximately

every month in multi-pack quantities at BJ’s locations at 125 Green Acres Rd S, Valley Stream,

New York 11581, 711 Stewart Ave, Garden City, New York 11530, and 50 Daniel St.

Farmingdale, New York 11735, and also at Costco locations at 625 Broadhollow Road, Melville,

New York 11747 and 3705 Hampton Road, Oceanside, New York 11572.

       38.     Plaintiff, when she purchased the Products, saw and believed that the Products were

environmentally friendly and sustainable, based on Defendants’ representations. The sustainability



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representations of the Products were material to Plaintiff and encouraged her to make her

purchases. Plaintiff Maggio relied upon these representations, which as a consumer she had no

reason to doubt.

       39.     Plaintiff Maggio, along with other consumers, relies on representations when

deciding which products to purchase.

       40.     Plaintiff Maggio, along with other consumers, is willing to pay more for products

that have benefits supposedly unique to that product.

       41.     Plaintiff Maggio, along with other consumers, is injured when she pays a price

premium based on false or misleading representations.

       42.     Plaintiff Maggio would not have purchased the Products or would not have

purchased them on the same terms, if she had known that contrary to Defendants’ representations,

the Products are derived from unsustainable forest degradation practices.

       43.     On March 28, 2025, Plaintiff Maggio sent each Defendant a pre-suit notice letter

of all the claims and allegations in this Complaint.

       44.     Defendant P&G is incorporated and headquartered in Ohio.

       45.     Defendant markets and sells the Product in stores and online throughout the United

States, including in New York.

       46.     Through its misrepresentations, P&G has caused harm to Plaintiff and Class

Members.

       47.     Defendant RA is incorporated and headquartered in New York.

       48.     RA has played a pivotal role in disseminating the misrepresentations throughout

United States, including in New York.




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                                             FACT ALLEGATIONS

I.      Defendant P&G Represents That the Products Are Environmentally Friendly.

                 A. P&G Products Generally

        49.      Defendant P&G manufactures and sells the Products both in stores and through

 online retailers to consumers nationwide.

        50.      P&G represents that it sources its wood pulp from a globally recognized

 certification system. P&G’s investor website claims:

        P&G requires 100% of the wood pulp we source to be certified by a globally
        recognized certification system…which include criteria related to protecting both
        environmental and social values of forests. By producing all of our products with
        100% certified pulp, we are helping to promote forestry practices that leave a
        smaller environmental footprint, protect vulnerable species, and make a positive
        impact on communities that depend on them. 21

        51.      P&G maintains a “Wood Pulp Grievance Tracker,” claiming:

        P&G sources wood pulp that is used in the production of products in Family Care,
        Baby Care, and Feminine Care business units such as paper towels, diapers,
        feminine hygiene products, and toilet paper. P&G will ensure the forests harvested
        for our pulp are managed sustainably and responsibly. Our direct suppliers and their
        sub-suppliers comply with P&G’s Wood Pulp Sourcing Policy. 22

        52.      P&G’s wood grievance tracker indicates that the Wood Pulp Sourcing Policy has

 “criteria related to the following topics: no illegal logging, conversion, deforestation, or

 degradation, protection of high conservation value areas, respect for human and labor rights, free,

 prior, and informed consent for Indigenous Peoples, and minimum forest certification.” 23

        53.      The foregoing statements by P&G mislead consumers because most would expect

 P&G’s Wood Pulp Sourcing Policy to prohibit “illegal logging, conversion, deforestation, or


           21
               Environmental - Pulp, P&G, https://www.pginvestor.com/esg/environmental/forestry/pulp/default.aspx
(last visited Mar. 31, 2025).
           22
                     Wood         Pulp        Grievance        Tracker,        P&G          (Aug.         2024),
https://s1.q4cdn.com/695946674/files/doc_downloads/esg/WoodPulpGrievanceTracker.pdf.
           23
              Id.


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 degradation,” prohibit activities that undermine or are inconsistent with the stated objective of

 “protecti[ng] [] high conservation value areas, respect[ing] [] human and labor rights,” and

 prohibit activities that undermine or are inconsistent with the stated objective of receiving “free,

 prior, and informed consent for Indigenous Peoples, and minimum forest certification.” Instead,

 P&G’s sourcing policy does not explicitly prohibit the practices mentioned. 24

         54.      P&G also represents that the Products are Forest Stewardship Council (“FSC”)

 certified,25 which further represents to consumers that P&G’s sourcing practices do not harm

 forest environments.

         55.      Upon information and belief, P&G’s sourcing practices involve illegal logging,

 conversion, deforestation, degradation, destruction of high conservation value areas, and

 destruction of native land without informed consent of Indigenous Peoples.

         56.      P&G’s website, Mapping Our Impact, states:

         Forests are critical to supporting life on earth and protecting them is essential to the people
         and wildlife that call them home. We are committed to zero deforestation in our supply
         chain. For example, we require our wood pulp in products be third-party certified - for
         every tree we use at least one is regrown…We are helping protect and restore nature
         through partnerships and projects around the world and are committed to a regenerative
         approach. We are planting more than a million trees through partnerships to protect
         and restore forests that touch 35 countries and are committed to the long-term health
         of natural ecosystems that are essential to people, wildlife and the planet. 26

         57.      P&G’s supply chain for the Products has been credibly linked with forest

 degradation practices—namely, by sourcing extensively from forest units that contain boreal



         24
             DellaSala, et al., supra note 5.
         25
             See Environmental - Pulp supra note 21 (FSC is a “FSC is a non-profit organization, providing trusted
solutions to help safeguard the world’s forests and tackle today’s deforestation, climate, and biodiversity challenges.”);
see also The future of forests is in our hands, FSC, https://fsc.org/en (last visited Feb. 28, 2025) (note that the FSC
certification itself has come under scrutiny by environmental advocates); Destruction: Certified, Greenpeace Int’l
(2021),               https://www.greenpeace.org/static/planet4-international-stateless/2021/04/b1e486be-greenpeace-
international-report-destruction-certified_finaloptimised.pdf.
          26
             See Mapping Our Impact, P&G, https://us.pg.com/mapping-our-impact/ (last visited Mar. 31, 2025)
(emphasis in original); see also DellaSala, et al., supra note 5.


                                                           12
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 caribou habitat and lack FSC certification. Reasonable consumers would consider these

 practices—turning carbon-rich, native mature and old-growth forests into clearcuts and young

 tree plantations—not only forest degradation but also tantamount to “deforestation,” based on the

 colloquial meaning of deforestation.

        58.     Defendant RA is complicit in, and profits off, these misrepresentations.

                B. Charmin

        59.     Charmin products are available online and at various locations throughout New

 York, including Target, Walgreens, CVS, and Walmart, as evidenced by the screenshot below. 27




        60.     On the packaging of the Products, P&G represents that the Products are sourced in

 accordance with the “Charmin Sustainability Promise” that promotes three pillars or actions:

 “protect”, “grow”, and “restore.” These words are depicted encircling the image of a tree and



        27
            See generally Where to Buy Charmin, Charmin, https://www.charmin.com/en-us/shop-products/ultra-
strong-toilet-paper (last visited Mar. 13, 2025).



                                                    13
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clearly indicating to consumers that these principles are related to P&G’s forest sourcing

practices. The image below reflects these pillars and was taken from the Charmin website on

January 21, 2025.




      61.    This insignia is also present on Charmin packaging, as seen in the below image:




                                             14
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        62.     P&G also claims to “plant” or “regrow” two trees for every one used. These claims

 exist not only on P&G’s own website, but also on the website for third party retailers Sam’s Club

 and Amazon.

        63.     The Sam’s Club website states:

        “At Charmin, we are committed to making our toilet paper work hard to make a sustainable
        difference. 100% of our paper comes from responsibly managed forests. For every tree
        used, at least two are regrown in its place. P&G and Charmin are partnering with the Arbor
        Day Foundation to plant 1 million trees in forests affected by natural disasters, like
        wildfires or hurricanes.” 28

        64.     As shown in the screenshot below, on Amazon’s website, the Products are marketed

 as being sourced from “responsibly managed forests.”29




         28
             Charmin Ultra Strong 2-Ply Toilet Paper 32 rolls, 231 sheets/roll, Sam’s Club,
https://www.samsclub.com/p/charmin-ultra-strong-2-ply-toilet-paper-231-sheets-roll-
32rolls/P990350415?xid=plp_product_5&bvstate=pg:35/ct:r (last visited Mar. 31, 2025).
         29
            Charmin Toilet Paper Ultra Soft Cushiony Touch, 30 Family Mega Rolls = 153 Regular Rolls, Amazon,
https://www.amazon.com/dp/B09YLN9GX7 (last visited Mar. 31, 2025).


                                                     15
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         65.      Upon information and belief, P&G provides this information to third-party retailers.

                  C. Puffs

         66.      Consumers can purchase Puffs tissues at both Walmart and Amazon and “other

 select retailers.”30




         30
             See Puffs Ultra Soft Buy Now, PUFFS, https://puffs.com/en-us/shop-products/non-lotion-tissue/puffs-ultra-
soft (last visited Feb. 24, 2025).


                                                         16
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        67.     Puffs products similarly repeat P&G’s promise to replant one tree for every used,

 as seen in the images below.31




        31
            See Puffs Ultra Soft Facial Tissues, 1 Family Size Box, 124 Facial Tissues Per Box, CVS,
https://www.cvs.com/shop/puffs-ultra-soft-facial-tissues-1-family-size-box-124-facial-tissues-per-box-prodid-
405614 (last visited Feb. 24, 2025).


                                                     17
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        68.      Puffs also represents that its Ultra Soft product utilizes “raw ingredients sourced

 from sustainably managed forests.”32

        69.      Puffs represents that its paper products are “made of a pulp blend that includes

 sustainably sourced, fast-growing renewable fibers.” Further, Puffs claims that “100% of our




        32
             See Facial Tissue Facts and FAQs, PUFFS, https://puffs.com/en-us/about-puffs/frequently-asked-questions
(last visited Mar. 31, 2025).


                                                        18
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[Puffs’] virgin fibers come from sources that have been 3rd party certified to ensure they adhere

to responsible sourcing principles and criteria.” 33

      70.        Additionally, like Charmin, Puffs purports to abide by its own Sustainability

Promise to “protect, grow, and restore” trees, as seen in the screenshot below.




      33
           Id.


                                                 19
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      71.    This language is also present on Puffs packaging, as seen in the below image:




      72.    Defendant P&G’s representations that the Products are environmentally friendly

mislead consumers into believing that the Products are not made using environmentally damaging

processes, when in fact, the Products are the result of forest degradation practices. Thus,

Defendant P&G’s marketing is false and misleading to consumers.



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II.     Defendant P&G’s Products Are Not Environmentally Friendly.

        73.      Contrary      to    Defendant      P&G’s      representations,       the     Products    are   not

  environmentally friendly nor sustainable because their production causes forest degradation,

  yields inordinately high carbon emissions, threatens imperiled wildlife like woodland caribou

  and migratory songbirds, and generates hazardous air pollutants.34

        74.      P&G’s own disclosures in its July 2022 Forestry Practices Update indicate that it

  sources from suppliers whose managed land overlaps with intact forest landscapes (“IFLs”), as

  well as critical boreal caribou habitat. 35 IFLs are stretches of primary forest with a minimum area

  of 500km squared. Primary forests are any forests that have never been industrially disturbed

  and have developed following natural disturbances and under natural processes. 36 Primary

  forests, inclusive of IFL’s, are recognized as being irreplaceable in terms of biodiversity, carbon

  storage, and provision of ecosystem services. 37

        75.      Industrial logging in primary forests, whether in IFLs, boreal caribou habitat (a

  good proxy for primary forests),38 or other primary forest areas, is a form of forest degradation.


        34
             See Sarah Ruiz, What you should know about protecting the United States’ old forests, Woodwell Climate
Research Ctr. (June 1, 2023), https://www.woodwellclimate.org/protect-us-mature-and-old-growth-forests/; see also
Ronnie Drever, Primer on Forest Carbon, Nature United, https://www.natureunited.ca/what-we-do/our-
priorities/innovating-for-climate-change/forest-carbon-boreal-forest/ (last visited Mar. 13, 2025); Beverly Law &
William Moomaw, Old forests are critically important for slowing climate change and merit immediate protection
from logging, The Conversation (Jan. 19, 2024), https://theconversation.com/old-forests-are-critically-important-for-
slowing-climate-change-and-merit-immediate-protection-from-logging-220771; Ian Austen and Vjosa Isai, Canada’s
Logging Industry Devours Forests Crucial to Fighting Climate Change, The New York Times (Jan. 4, 2024),
https://www.nytimes.com/2024/01/04/world/canada/canada-boreal-forest-logging.html; Dana Kobilinsky, Forest
Degradation in Canada Causes Bird Decline, The Wildlife Society (May 3, 2022), https://wildlife.org/forest-
degradation-in-canada-causes-bird-decline/.
          35
                 Forestry     Practices      Update        July     2022,     P&G      (July     2022)     at      2,
https://s1.q4cdn.com/695946674/files/doc_downloads/2022/07/Forestry-Practices-Update-July-2022.pdf.
          36
                  Forest      Biodiversity      Definitions,       Convention       on     Biological     Diversity,
https://www.cbd.int/forest/definitions.shtml, (last visited Mar. 13, 2025).
          37
             Julia E. Fa et al., Importance of Indigenous Peoples’ Lands for the Conservation of Intact Forest
Landscapes, 18 Frontiers in Ecol. & Env’t 135 (2020), https://doi.org/10.1002/fee.2148.
          38
             See Cheryl A. Johnson et al., Protecting Boreal Caribou Habitat Can Help Conserve Biodiversity and
Safeguard Large Quantities of Soil Carbon in Canada, 12 Sci. Rep. 17067 (2022), https://doi.org/10.1038/s41598-
022-21476-x.; see also Cheryl A. Johnson et al., Science to Inform Policy: Linking Population Dynamics to Habitat



                                                        21
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        76.      P&G has not prohibited sourcing from IFLs. 39

        77.      In the supplement to its 2021 Forestry Practices Report, P&G states that it will

  continue sourcing wood pulp from IFLs for its products.40

        78.      A 2020 article from the Natural Resources Defense Council (“NRDC”) reported

  that the mills supplying Charmin source from forest management units which overlap with

  declining boreal caribou ranges. 41

        79.      P&G’s own disclosures indicate that, in Canadian forests, from which P&G sourced

  34% of its wood pulp from in 2021,42 P&G’s suppliers’ managed land overlaps with boreal

  caribou habitat.43

        80.      According to Canada’s Boreal Caribou Recovery Strategy, this level of disturbance

  gives the impacted herds less than a 60% chance of long-term survival.44

        81.      Boreal caribou habitat is a good proxy for primary forests, as boreal caribou rely

  on undisturbed primary forest for their survival.45

        82.      Sourcing from the Canadian Boreal Forest also exacerbates climate change through

  the release of carbon to the atmosphere otherwise stored in soils and foliage. Manufacturing




for a Threatened Species in Canada, 57 J. Appl. Ecol. 2172 (2020), https://doi.org/10.1111/1365-2664.13637; Justina
Ray, Saving our caribou forces us to face tough questions, The Narwhal (May 16, 2019), https://thenarwhal.ca/saving-
our-caribou-forces-us-to-face-tough-questions/.
          39
                 See     Forestry       Practices      Report      Supplement,     P&G      (June      7,     2021),
https://s1.q4cdn.com/695946674/files/doc_downloads/esg/2021/8958_P-G_Forestry_Practices_Report_A-
4.pdf; see also Forestry Practices Update July 2022, supra note 35.
          40
             Id.
          41
             See Brendan Mackey, et al, supra note 6.
          42
                 Data     and     Metrics:       P&G       Global      Corporate     -    Wood       Pulp,     P&G,
https://www.pginvestor.com/esg/environmental/forestry/pulp/default.aspx#pulp_data (last visited Mar. 31, 2025).
          43
             Forestry Practices Update July 2022, supra note 35.
          44
             Amended Recovery Strategy for the Woodland Caribou (Rangifer tarandus caribou), Boreal population,
in Canada [Proposed] 2019, Species                     at Risk Act Recovery Strategy Series                  (2019),
https://www.canada.ca/en/environment-climate-change/services/species-risk-public-registry/recovery-
strategies/woodland-caribou-boreal-2019.html.
          45
             See Cheryl A. Johnson, et al. and Justina Ray, supra note 38.


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  paper products from virgin forest fiber creates three times the carbon emissions as toilet paper

  made with 100% recycled content.46

         83.      As more than 100 scientists wrote to the signatories of the Glasgow Leaders’

  Declaration on Forests and Land Use:47

         “Whether examining degradation through the lens of carbon storage, native species habitat,
         ecological complexity, water filtration and other services, or even future timber value, the
         industrial logging, particularly clearcutting, 48 of primary forests indelibly and significantly
         depletes or mars the forest’s original characteristics, no matter the subsequent forest
         regeneration practices…As a clear and egregious example of forest degradation, the
         commercial logging of primary forests is incompatible with achieving the preservation of
         a safe climate and stable biodiversity.”

         84.      Thus, there is consensus in the scientific forestry community that the practice of

  commercial logging of primary forests—which P&G’s own materials admit to engaging in—

  runs contrary to combatting climate change and protecting biodiversity.

         85.      Further, P&G sources wood pulp from Dryden Mill. Dryden Mill has historically

  dumped mercury generated from bleaching paper into the English-Wabigoon River System,

  causing widespread and multi-generational health problems for Grassy Narrows’ residents.

         86.      Below is an image of clearcut sections in boreal forest near Dryden in Northwestern

  Ontario, Canada published by the NRDC:49




         46
            See Shelley Vinyard and Jennifer Skene, supra note 11.
         47
            Letter from Scientists to the Signatories of the Glasgow Leaders’ Declaration on Forests and Land Use,
NRDC                (Nov.              16,           2022),            https://www.nrdc.org/sites/default/files/media-
uploads/scientists_letter_to_glasgow_declaration_signatories_nov_2022_final.pdf.
         48
            More than 90% of industrial logging in Canada is through clearcutting. See Forest Area Harvested on
Private and Crown Lands, National Forestry Database, http://nfdp.ccfm.org/en/data/harvest.php, (last visited Mar. 13,
2025).
         49
            Shelley Vinyard, The Tragedy of Toilet Paper and Why Charmin Must Change, NRDC (Oct. 8, 2019),
https://www.nrdc.org/bio/shelley-vinyard/tragedy-toilet-paper-and-why-charmin-must-change.


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        87.      Below is another clearcut area of boreal forest in Northwestern Ontario, Canada

  published by the NRDC:50




        50
          Ashley Jordan, Sustainable TP is on a Roll, But Charmin Stays Rough on Forests, NRDC (Sept. 16, 2024),
https://www.nrdc.org/bio/ashley-jordan/sustainable-tp-roll-charmin-stays-rough-forests.


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        88.     Each of these images was taken near mills from which P&G sources the Products.

        89.     A 2021 NRDC report found that P&G continues to source from pulp producers

  that source from forest units with threatened species habitat without the stronger protections

  that FSC requires. 51

        90.     Upon information and belief, these mills are engaging in clearcutting forest

  degradation activities of critical wildlife habitats.

        91.     P&G is, therefore, sourcing the Products from mills relying on forest degradation

  practices that are clearly not sustainable. 52




        51
           Courtenay Lewis & Ashley Jordan, By a Thousand Cuts: How Powerful Companies’ Wood Sourcing is
Degrading Canada’s Boreal Forest, NRDC (Apr. 2021), https://www.nrdc.org/sites/default/files/thousand-cuts-
wood-sourcing-canadas-boreal-report.pdf.
        52
           DellaSala, et al., supra note 5.


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III.    Defendant RA Represents That Products Bearing Its Seal Are Sustainable.

        92.        Defendant RA represents that its certification “is a symbol of environmental, social,

and economic sustainability.”53

        93.        RA advertises that it is “creating a more sustainable world by using social and

market forces to protect nature and improve the lives of farmers and forest communities.” 54

        94.        The RA website represents that “the green frog seal is awarded to farms and forests

that meet rigorous environmental and social standards.” The green frog is featured in the image

below.55




        95.        Importantly, this is not the same seal currently featured on the Products. Instead,

the Products currently feature the below, nearly identical, Forest Allies logo.




        53
             Find the Frog, Rainforest Alliance, https://www.rainforest-alliance.org/find-certified/ (last visited Mar.
13, 2025).
        54
              Our Vision, Rainforest Alliance, https://www.rainforest-alliance.org/about/ (last visited Mar. 13, 2025).
        55
             See Find the Frog, supra note 53.


                                                           26
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        96.      The only difference between the RA certification seal and the Forest Allies logo are

the words beneath the frog. Where the certification seal has “people & nature” written beneath the

frog, the Forest Allies logo has “forest allies” written beneath the frog.

        97.      RA notes that “the Rainforest Alliance certification seal can be used by farms and

companies that meet the rigorous criteria of the Sustainable Agriculture Standard, part of the

Rainforest Alliance certification program. It can be found on thousands of consumer products

across the globe.”56

        98.      As of January 24, 2025, the RA website states that, in order to be listed on the RA

website, businesses must meet the following requirements: (1) the business offers consumer-facing

products that bear the RA certified seal and that are available for direct purchase; (2) the business

is in compliance with its Use of Seal Guidelines; (3) the RA seal is featured directly on the product

or packaging; and (4) if the product is sold online only and does not have packaging where the RA

certified seal can be displayed, then the seal must appear on the webpage where the product is

featured, next to the product’s description. 57



         56
             See Using Our Logo and Seal, Rainforest Alliance (Dec. 11, 2024), https://www.rainforest-
alliance.org/business/marketing-sustainability/using-our-logo-and-seal/.
         57
            See How to Get Supply Chain Certification: A Guide for Companies, Rainforest Alliance (Sept. 24, 2024),
https://www.rainforest-alliance.org/business/certification/how-to-get-supply-chain-certification-a-guide-for-
companies/.


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           99.    Sometime prior to November 2017, P&G’s Puffs tissue products were certified by

Rainforest Alliance. 58

           100.   Sometime prior to March 2017, P&G’s Charmin toilet paper products were certified

by Rainforest Alliance. 59

           101.   In 2018, however, the RA’s Certification Unit (“RA-Cert”) was acquired by

Preferred by Nature and the RA no longer directly certifies businesses against forestry and tourism

standards.60

           102.   As of September 30, 2023, the license agreements terminated, meaning businesses

are not able to use the Rainforest Alliance Certified seal on the certified products or related

promotional materials. 61

           103.   Major retailers selling P&G products continue to display the RA Certified seal and

make associated claims, misleading consumers and in direct violation of the RA policy.

           104.   The below screenshot was taken from the Amazon product page for the sale of

Charmin Ultra Soft, indicating that the Product is RA certified and including the RA certification

seal. 62




           58
             Puffs, RA https://www.rainforest-alliance.org/find-certified/puffs/ (last visited Feb. 24, 2025).
           59
             Charmin, Rainforest Alliance (Mar. 9, 2017), https://www.rainforest-alliance.org/find-certified/charmin/.
          60
              Kataryzyna Nagrodzka, Rainforest Alliance Certified seal phase-out for old RA-Cert clients, Preferred by
Nature (Nov. 17, 2021), https://www.preferredbynature.org/news/rainforest-alliance-certifiedtm-seal-phase-out-old-
ra-cert-clients.
          61
             Id.
          62
             Charmin Ultra Soft Cushiony Touch Toilet Paper, 24 Family Mega Rolls = 123 Regular Rolls, Amazon,
https://www.amazon.com/dp/B0798DVT68 (last visited Mar. 13, 2025).


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        105.    The Forest Allies logo appears on the packaging of Puffs products as seen in the

images below:63




        63
            See Puffs Ultra Soft Facial Tissues, 1 Family Size Box, 124 Facial Tissues Per Box, CVS,
https://www.cvs.com/shop/puffs-ultra-soft-facial-tissues-1-family-size-box-124-facial-tissues-per-box-prodid-
405614 (last visited Mar. 31, 2025).


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        106.     The Amazon page for Puffs also indicates in the product information that the

Product is Rainforest Alliance certified as seen below:64




        107.     The Giant page for Puffs also indicates in the product information that the Product

is Rainforest Alliance certified as seen below:65




         64
            See Puffs, Ultra Soft Non-Lotion Facial Tissues 8 Mega Cubes 72 Facial Tissues per Cube, 8 Count,
AMAZON.COM, https://www.amazon.com/dp/B0CD21B43K (Last visited Mar. 31, 2025).
         65
            See Puffs Plus Lotion 2-Ply Facial Tissue Flat Box, Giant Food, https://giantfood.com/groceries/laundry-
paper-cleaning/paper-products/facial-tissues/puffs-plus-lotion-2-ply-facial-tissue-flat-box-124-ct-box.html     (last
visited Mar. 31, 2025).


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       108.       The RA website also represents that both products are RA certified.

       109.       Consumers can visit RA’s “Find the Frog” website 66 to research whether certain

products are RA certified. Charmin and Puffs are both listed on the RA website as certified, as

displayed in the screenshots below:




       66
            See Find the Frog, supra note 53.


                                                      32
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       110.       The same website prompts the consumer to learn more about what the RA

certification process entails (“what does it take to be listed here?”) and states that businesses must

meet certain requirements to obtain certification.

       111.       The same website takes consumers to the company website, as seen in the

screenshots below, where a consumer can purchase the Products, all while under the impression

that the Products are RA certified.67




       67
            Id.


                                                 33
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IV.    Defendant P&G’s Products Are Not Certified by Defendant RA.

        112. RA explicitly represents to consumers that the Products are RA certified, when they

are not. Compounding this consumer confusion is RA’s creation of the Forest Allies “community

of practice” and corresponding logo that is almost identical to the RA certification seal as seen

supra ¶¶ 94 and 95.




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         113. P&G is a “founding member” of the Forest Allies Community of Practice and

helped to “develop and launch” the program. 68

         114. As a founding member of the Forest Allies program, P&G was allowed to use an

“altered but nearly identical seal” for three years at a cost of $250,000 per year. 69

         115. As of 2021, P&G represents that it has partnered with RA “by investing in

developing and launching the Forest Allies Community of Practice,” 70 highlighting its direct

involvement with P&G’s misrepresentations. See supra § II.

         116. The RA website describes Forest Allies as “a community of practice focused on

protecting, restoring, and enabling responsible management of tropical forests.” 71

         117. Notably, the Forest Allies program is described as a community focused on

“tropical” forests, despite being plastered on Products that source from the Canadian Boreal

Forest. This further misleads consumers about the truth of the Products’ supply chain.

         118. Further, the Forest Allies program does not certify products. Instead, the program

“aims to create long-lasting impact through people and partnerships,” without enumerating any

definitive actions that the organization takes beyond “annual membership dues” and “participation

in bi-annual workshops.”72

         119. Participation in the Forest Allies program does not involve any auditing of the

company or product’s supply chain for sustainable sourcing or practices.




        68
               Environmental, P&G, https://www.pginvestor.com/esg/environmental/forestry/partnerships/default.aspx
(last visited Mar. 13, 2025).
           69
               Milana Nikolova, P&G accused of “greenwashing” and “misleading” consumers with on-pack
sustainability claims, Packaging Insights (Jan. 22, 2025), https://www.packaginginsights.com/news/pg-accused-of-
greenwashing-and-misleading-consumers-with-on-pack-sustainability-claims.html.
           70
              Forest Allies: Join Our Community of Practice, supra note 20.
           71
              Id.
           72
              Id.


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         120. As such, consumers are affirmatively deceived by RA’s representations on its

consumer-facing website that the Products are RA-certified. Consumers are further misled at the

point of sale by both P&G and RA due to the presence of the “Forest Allies” logo on the Products’

packaging, which looks strikingly similar to the RA certification seal and also leads consumers to

believe that the Products are RA certified when they are not. See supra ¶¶ 94, 95.

V.      Defendants’ Representations Are Material to Consumers.

         121. Consumers care about whether the products they purchase are sustainably sourced.

         122. According to a study entitled “Consumers care about sustainability and back it up

 with their wallets,” 60% of U.S. consumers disclosed that they care about buying environmentally

 and ethically sustainable products. 73 The study also found that “a wide range of consumers across

 incomes, life stages, ages, races, and geographies are buying products bearing ESG-related

 labels.”74

         123. A recent study found that 78% of US consumers say that a sustainable lifestyle is

 important to them.75

         124. Also, “68% [of Americans] would pay more for sustainable products.” 76

         125. In a 2024 survey by PricewaterhouseCoopers, more than 80% of consumers said

 they are willing to pay more for sustainably produced or sourced goods.77




        73
              See Consumers care about sustainability–and back it up with their wallets, NIQ (Feb. 6, 2023),
https://nielseniq.com/global/en/insights/report/2023/consumers-care-about-sustainability-and-back-it-up-with-their-
wallets/.
          74
             Id. Also, note that “ESG” stands for Environmental, Social, and Governance.
          75
             Id at 2.
          76
             Interest in Sustainability Surges for Consumer Products, Computer Generated Solutions, Inc. (2022),
https://www.cgsinc.com/en/resources/interest-sustainability-surges-consumer-products.
          77
             Consumers willing to pay 9.7 percent sustainability premium, even as cost-of-living and inflationary
concerns weigh: PwC 2024 Voice of the Consumer Survey, PwC (May 15, 2024), https://www.pwc.com/gx/en/news-
room/press-releases/2024/pwc-2024-voice-of-consumer-survey.html.


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         126. A 2023 study from Bain & Company concluded that consumers are willing to pay

 at least 12% more for sustainable products. 78

         127. A 2024 study from the National Association of Convenience Stores (“NACS”)

 found that, when comparing two similar products priced at $10 or less, 71% of consumers would

 select the one that follows sustainable practices. 79

         128. According to a 2021 study from GlobeScan, for the Forest Stewardship Council,

 “86 percent of consumers try to avoid products that damage biodiversity and about seven in ten

 want to choose products that do not contribute to climate change.” 80

         129. What’s more, P&G knows that its consumers value environmentally friendly

 products, hence why it participated in the Forest Allies program and RA certification process.

VI.     Defendants’ Representations Mislead Reasonable Consumers.

         130. Reasonable        consumers      encountering      Defendant      P&G’s      representations

 emphasizing that the Products are sourced in accordance with the “sustainability promise” to

 “protect, grow, and restore” trees do not expect the Products to be the product of environmentally

 destructive clearcutting.

         131. Reasonable consumers would consider forest degradation practices, such as

 clearcutting to not be environmentally friendly.




        78
            Consumers Say Their Environmental Concerns are Increasing Due to Extreme Weather; Study Shows
They’re Willing to Change Behavior, Pay 12% More for Sustainable Products, Bain & Company (Nov. 13, 2023),
https://www.bain.com/about/media-center/press-releases/2023/consumers-say-her-environmental-concerns-are-
increasing-due-to-extreme-weather-study-shows-theyre-willing-to-change-behavior-pay-12-more-for-sustainable-
products/.
         79
             U.S. Consumers Willing to Pay More for Sustainable Products, NACS (Apr. 24, 2024),
https://www.convenience.org/Media/Daily/2024/April/24/4-US-Consumers-Pay-Sustainable_Products_Research.
         80
            2021 Global Consumer Research Reveals Escalating Concerns about Climate Change and Threats to
Forest Biodiversity, GlobeScan for the FSC, https://globescan.com/2021/10/21/consumer-research-reveals-
escalating-concerns-about-climate-change-forest-biodiversity/ (last visited Mar. 13, 2025).


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          132. P&G misleads             consumers by explicitly representing the Products as

 environmentally friendly, when they are the result of forest degradation of critical habitats.

          133. Forest degradation is “the loss or reduction of a forest’s ecosystem integrity through

 intensive logging and the targeting of older stands of trees within a forest by loggers.”81

          134. Forest degradation is also a “stepping-stone to deforestation,”82 which is “the action

 or process of clearing of forests.”83

          135. P&G claims that it does not engage in deforestation. The P&G Forest Commodities

 Policy, however, relies on a very narrow definition of deforestation. It states:

        “P&G policies require our direct suppliers to commit to no deforestation, meaning: No loss
        of a natural forest for non-forest or agricultural use. Where applicable, the High Carbon
        Stock Approach Toolkit should be applied to identify and conserve High Carbon Stock
        (HCS) forests and High Conservation Value (HCV) areas. No conversion of a natural forest
        ecosystem to another land use, including plantations. No use of illegally sourced forest
        commodities or conflict timber. No new development of peatlands, regardless of depth. No
        burning to clear land for new development or replanting.” 84

          136. In short, P&G’s policy purports that as long as forest land is not converted to

 agricultural use and/or trees are replanted after clearcutting, it is not considered deforestation.

 This is not what a reasonable consumer understands “no deforestation” to mean.




           81
              See DellaSala, et al., supra note 5. see also Jillian Mackenzie and Melissa Denchak, Deforestation and
Forest        Degradation:     The      Causes,     Effects,     and   Solutions,  NRDC       (Nov.    25,    2024),
https://www.nrdc.org/stories/deforestation-forest-degradation-causes-effects-solutions.
           82
              Lorin Hancock, What is forest degradation and why is it bad for people and wildlife?, World Wildlife
Fund, https://www.worldwildlife.org/stories/what-is-forest-degradation-and-why-is-it-bad-for-people-and-wildlife
(last visited Mar. 13, 2025).
           83
              Deforestation, Merriam-Webster, https://www.merriam-webster.com/dictionary/deforestation (last visited
Mar. 13, 2025).
           84
                    P&G’s            Forest        Commodities          Policy,      P&G         (May         2023),
https://s1.q4cdn.com/695946674/files/doc_downloads/esg/2021/Forestry/06/8958_P-G_WoodPulp_Policy_A-3.pdf
In 2022, the NRDC filed a complaint with the Securities and Exchange Commission (“SEC”) claiming that P&G’s
claims that the company prohibited forest degradation in its supply chains was materially misleading to investors. In
response, P&G simply removed the statement regarding prohibition of forest degradation in its pulp supply chain from
its Forest Commodities Policy.


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          137. While deforestation occurs when forests are converted to non-forest uses, such as

 agriculture and road construction, forest degradation occurs when forest ecosystems lose their

 capacity to provide important services to people and nature.85

          138. P&G’s supply chain for the Products has been credibly linked with forest

 degradation practices—namely, by sourcing extensively from forest units that contain boreal

 caribou habitat and lack FSC certification. Not only would reasonable consumers not consider

 these practices to be sustainable, but they would also not expect practices that are technically

 considered “forest degradation” in a supply chain that is advertised as fighting deforestation.

          139. Defendant RA is complicit in, and profits off, these misrepresentations. 86

          140. Thus, Defendants’ conduct in marketing the Products deceives consumers. Plaintiff

 and Class Members have been, and continue to be, deceived into believing that the Products are

 beneficial for the environment and sustainable when, in fact, the Products are sourced via the

 depletion of virgin forests, including the climate-critical Canadian Boreal Forest.

          141. P&G knows what representations it makes in marketing the Products. P&G also

 knows how the Products are sourced and produced. P&G, thus, knew, or should have known, the

 facts demonstrating that the Products are falsely represented to consumers.



         85
             See DellaSala, et al., supra note 5; see also Deforestation and Forest Degradation, Int’l Union for
Conservation        of      Nature       (Feb.     2021).      https://iucn.org/sites/default/files/2022-04/deforestation-
forest_degradation_issues_brief_2021.pdf; Brendan Mackey, et al, supra note 6. This study found two major
categories of forest degradation in the managed forest estate of Ontario and Quebec, which have accrued due to the
cumulative ecological impacts of logging: (1) a loss of stand age diversity, particularly older forests, to the expanse
of early-successional and young forest stands; and (2) the loss and degradation of critical caribou habitat and an
increase in the risks to self-sustaining boreal caribou populations. The article further points out that the Canadian
Government claims that its forests have been managed according to the principles of sustainable forest management
for many years, yet this notion of sustainability is tied mainly to maximizing wood production and ensuring the
regeneration of commercially desirable tree species following logging. The article discusses the industry’s false claims
that commercial logging of natural forests does not constitute either “deforestation” or “degradation,” so long as the
forest remains dominated by naturally regenerating, commercially valued tree species and the wood supply is
sustained.
          86
             As a founding member of the Forest Allies program, P&G was allowed to use an “altered but nearly
identical seal” for three years at a cost of $250,000 per year. See supra ¶ 114.


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          142. In making the false, misleading, and deceptive representations and omissions at

issue, P&G also knew and intended that consumers would choose to buy, and would pay more

for, products represented to be “environmentally friendly” and sustainable, furthering its private

interest of increasing sales of the Products and decreasing the sales of its competitors’ products

that are truthfully marketed.

          143. The same allegations apply to RA as it promotes and profits from its partnership

with P&G, which is based on misleading representations about the Products.

          144. Plaintiff   and Class     Members      have   been    financially   harmed    by the

misrepresentations of these products.

                                  JURISDICTION AND VENUE

         145.   This Court has personal jurisdiction over the parties in this case. Plaintiff consents

to this Court having personal jurisdiction over them.

         146.   Defendant P&G is incorporated in Delaware and headquartered in Ohio.

         147.   Defendant P&G regularly conducts and transacts business in New York,

purposefully avails itself of the laws of New York, markets the Products to consumers in New

York, and sells the Products throughout New York. Plaintiff purchased the Products in New York

State.

         148.   Defendant RA is incorporated in New York.

         149.   Plaintiff Maggio is a citizen of New York and consents to this Court’s jurisdiction.

         150.   This Court has original subject-matter jurisdiction over this proposed class action

pursuant to the Class Action Fairness Act, 28 U.S.C. § 1332(d), which provides for the original

jurisdiction of the federal courts in any class action in which the proposed plaintiff class comprises

at least 100 members, any member of the plaintiff class is a citizen of a state different from any




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defendant, and the matter in controversy exceeds the sum of $5,000,000, exclusive of interest and

costs. Plaintiff alleges that the total claims of individual members of the proposed Class (as

defined herein) exceed $5,000,000 in the aggregate, exclusive of interest and costs.

       151.    Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts in

furtherance of the alleged improper conduct, including the dissemination of false and misleading

information regarding the nature and quality of the Products, occurred within this District.

                                    CLASS ALLEGATIONS

       152.    Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of herself and all other similarly situated individuals (the “Class”), defined as

follows:

               All consumers who purchased the Products in the United States
               during the applicable statute of limitations period (the “Class Period”)
               and until the date of class certification.
       153.    Excluded from the Class are (1) Defendants, any entity or division in which

Defendants have a controlling interest, and Defendants’ legal representatives, officers, directors,

assigns, and successors; and (2) the judge to whom this case is assigned and the judge’s staff.

       154.    Included in the Class, to the extent necessary, is a subclass of all persons who

purchased the Products (as defined herein) in New York during the Class Period (the “New York

Subclass”).

       155.    Common questions of law and fact exist as to all Class Members and predominate

over questions affecting only individual Class Members. These common questions of law and fact

include, without limitation:

           a) Whether Defendants are responsible for the advertising at issue;

           b) Whether the advertising of the Products was unfair, false, deceptive, fraudulent,
              and/or unlawful;



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           c) Whether Defendants breached a warranty created through the marketing of its
              Product; and

           d) Whether Defendants’ conduct as set forth above injured Plaintiff and Class
              Members.

       156.    Plaintiff’s claims are typical of the claims of the Class in that they were exposed to

Defendants’ false and misleading marketing and promotional materials and representations,

purchased the Products, and suffered a loss as a result of those purchases.

       157.    The precise number of the Class Members and their identities are unknown to

Plaintiff at this time but may be determined through discovery.

       158.    Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class Members she seeks to represent, she has retained competent

counsel experienced in prosecuting class actions involving false advertising, and she intends to

prosecute this action vigorously.

       159.    The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class Members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendants’ liability. A class action provides a fair and

efficient method, if not the only method, for adjudicating this controversy and avoids the potential

for inconsistent or contradictory judgments. The substantive claims of Plaintiff and the Class are

nearly identical and will require evidentiary proof of the same kind and application of the same

laws. There is no plain, speedy, or adequate remedy other than by maintenance of this class action.

       160.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy because Class Members number in the thousands and individual

joinder is impracticable. The expense and burden of individual litigation would make it




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impracticable or impossible for proposed Class Members to prosecute their claims individually,

and the disposition of this case as part of a single class action lawsuit will benefit the parties and

greatly reduce the aggregate judicial resources that would be spent if this matter were handled as

hundreds or thousands of separate lawsuits. Trial of Plaintiff’s and the Class Members’ claims

together is manageable. Unless the Class is certified, Defendants will remain free to continue to

engage in the wrongful conduct alleged herein without consequence.

       161.    No member of the Class has a substantial interest in individually controlling the

prosecution of a separate action.

       162.    The prerequisites to maintaining a class action for equitable relief are met. By

representing that the Products are environmentally friendly and by omitting the significant forest

degradation that the production of the Products generates, Defendants have acted or refused to act

on grounds generally applicable to the Class, thereby making appropriate final equitable and

monetary relief with respect to the Class as a whole.

       163.    The prosecution of separate actions by members of the Class would create a risk of

establishing inconsistent rulings and/or incompatible standards of conduct for Defendants.

Additionally, individual actions could be dispositive of the interests of the Class even where certain

Class Members are not parties to such actions.

       164.    Defendants’ conduct is generally applicable to the Class as a whole, and Plaintiff

seeks, inter alia, equitable remedies with respect to the Class as a whole.

       165.    Plaintiff knows of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance of a class action.




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                                      CAUSES OF ACTION

                                           COUNT I
                       Violations of the New York General Business Law § 349
                                         Against All Defendants
                         (On Behalf of Plaintiff and the New York Subclass)

       166.    Plaintiff realleges and incorporates herein by reference all preceding paragraphs of

this Complaint as though set forth and at length herein.

       167.    The acts of Defendants, as described above, and each of them, constitute unlawful,

deceptive, and fraudulent business acts and practices.

       168.    Defendants market the Products as sustainable which is false because Defendants

engage in forest degradation practices to make the Products.

       169.    Defendants have violated, and continues to violate, § 349 of the New York General

Business Law (“NYGBL”), which makes deceptive acts and practices unlawful. As a direct and

proximate result of Defendants’ violation of § 349, Plaintiff and other members of the Subclass

have suffered damages in an amount to be determined at trial.

       170.    Defendants’ improper consumer-oriented conduct is misleading in a material way

in that it, inter alia, induced Plaintiff and Subclass Members to purchase and to pay the requested

price for the Products when they otherwise would not have or would not have purchased as much.

       171.    Defendants made the untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       172.    Plaintiff and Subclass Members have been injured by their purchase of the

Products, which were worth less than what they paid for, and which they selected over other

products that may have been truthfully marketed.

       173.    Defendants’ advertising induced Plaintiff and Subclass Members to buy the

Product, to buy more of them, and/or to pay the price requested.



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       174.    As a direct and proximate result of Defendants’ violation of § 349, Plaintiff and other

members of the Subclass paid for the falsely advertised Products and, as such, have suffered

damages in an amount to be determined at trial.

       175.    By reason of the foregoing, Plaintiff and Subclass Members are entitled to (1) actual

damages and/or statutory damages; (2) punitive damages; and (3) reasonable attorneys’ fees,

pursuant to NYGBL § 349(h).

                                           COUNT II
                       Violations of the New York General Business Law § 350
                                         Against All Defendants
                         (On Behalf of Plaintiff and the New York Subclass)

       176.    Plaintiff realleges and incorporates herein by reference all preceding paragraphs of

this Complaint as though set forth and at length herein.

       177.    The acts of Defendants, as described above, and each of them, constitute unlawful,

deceptive, and fraudulent business acts and practices.

       178.    New York General Business Law § 350 provides: “False advertising in the conduct

of any business, trade or commerce or in the furnishing of any service in this state is hereby

declared unlawful.”

       179.    NYGBL § 350-a defines “false advertising,” in relevant part, as “advertising,

including labeling, of a commodity . . . if such advertising is misleading in a material respect.”

       180.    Plaintiff and the members of the Subclass are consumers who purchased

Defendants’ Products in New York.

       181.    As a seller of goods to the consuming public, Defendants are engaged in the conduct

of business, trade, or commerce within the intended ambit of § 350.

       182.    Defendants’ representations (made by statement, word, design, device, sound, or

any combination thereof), and also the extent to which Defendants’ advertising has failed to reveal



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material facts with respect to its Products, as described above, have constituted false advertising

in violation of § 350.

       183.      Defendants’ false advertising was knowing and intentional, as Defendants are

aware that the Products’ wood pulp is sourced from climate critical FMAs with declining caribou

populations.

       184.      Defendants’ actions led to direct, foreseeable, and proximate injury to Plaintiff and

the members of the Subclass.

       185.      As a consequence of Defendants’ deceptive marketing scheme, Plaintiff and the

other members of the Subclass suffered an ascertainable loss, insofar as they would not have

purchased the Products had the truth been known, would not have paid the requested price for the

Products and/or would have purchased less of the Products; moreover, as a result of Defendants’

conduct, Plaintiff and the other members of the Subclass received products of less value than what

they paid for.

       186.      By reason of the foregoing, Plaintiff and Subclass Members are entitled to (1) actual

damages and/or statutory damages; (2) punitive damages; and (3) reasonable attorneys’ fees,

pursuant to NYGBL § 350-e (3).

                                            COUNT III
                         Violation of State Consumer Protection Statutes
                                      Against All Defendants
                         (on Behalf of Plaintiff and All Class Members)

       187.      Plaintiff realleges and incorporates herein by reference all preceding paragraphs of

this Complaint as though set forth and at length herein.

       188.      Defendants’ unfair, false, misleading, and fraudulent practices in marketing the

Products, as alleged herein, violate each of the following state consumer protection statutes to the

extent that Products have been marketed in, and purchased by Class members in, the respective



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states: Ala. Code § 8-19-5(27); Alaska Stat. § 45.50.471(a); Ariz. Rev. Stat. § 44-1522; Ark. Code

§ 4-88-107(a), (a)(10); Cal. Civ. Code § 1750, Cal. Bus. & Prof. Code §§ 17200, 17500, 17580.5;

Colo. Rev. Stat. §§ 6-1-105 (e), (g); Conn. Gen. Stat.§ 42-110b(a); Del. Code Ann. tit. 6,

§ 2513(a); Fla. Stat. Ann. § 501.204; Ga. Code § 10-1-393(a); Haw. Rev. Stat. § 480-2(a), (d);

Idaho Code § 48-603(17); 815 Ill. Comp. Stat. Ann. § 505/2; Ind. Code § 24-5-0.5-3(a); Iowa Code

§ 714H.3(1); Kan. Stat. § 50-626(a); Ky. Rev. Stat. § 367.170; La. Rev. Stat. Ann. § 51:1405(A);

Me. Rev. Stat. Ann. tit. 5 § 207; Md. Code Comm. Law § 13-301(1), (3); § 13-303; Mass. Gen.

Laws Ch. 93A, § 2(a); Mich. Comp. Laws Ann. § 445.903(1)(s), (bb), (cc); Minn. Stat.

§ 325F.69(1); Miss. Code § 75-24-5(2)(e),(g); Mo. Rev. Stat. § 407.020(1); Mont. Code § 30-14-

103; Neb. Rev. Stat. § 59-1602; Nev. Rev. Stat. § 598.0915(15); N.H. Rev. Stat. § 358-A:2; N.J.

Stat. Ann. § 56:8-2; N.M. Stat. Ann. §§ 57-12-2(D), 57-12-3; N.Y. Gen. Bus. Law §§ 349, 350;

N.C. Gen. Stat. § 75-1.1(a); N.D. Century Code §§ 51-15-02, 51-15-02.3; Ohio Rev. Code

§ 1345.02; Okla. Stat. Ann. tit. 15, §§ 753, 752(13); Or. Rev. Stat. § 646.608(1); 73 Pa. Stat. § 201-

2(4); R.I. Gen. Laws §§ 6-13.1-1(6)(xii), (xiii), (xiv), 6-13.1-2; S.C. Code § 39-5-20(a); S.D.

Codified Laws § 37-24-6(1); Tenn. Code § 47-18-104(a); Tex. Bus. & Com. Code § 17.46(b)(2),

(3), (5), (7), (24); Utah Code Ann. § 13-11-4(1); Vt. Stat. Ann. tit. 9, § 2453(a); Va. Code Ann.

§ 59.1-200(A)(14); Wash. Rev. Code § 19.86.020; W. Va. Code §§ 46A-6-102(7); Wis. Stat. Ann.

§ 100.18(1); Wyo. Stat. Ann. § 40-12-105(a)(xv).

       189.    Defendants made the misleading statements and representations willfully,

wantonly, and with reckless disregard for the truth.

       190.    Plaintiff and all Class members have been injured by their purchases of the

Products.




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            191.   As a direct and proximate result of Defendants’ violation of consumer protection

law, Plaintiff and all other Class members have suffered damages in an amount to be determined

at trial.

            192.   On March 28, 2025, pre-suit letters were sent to Defendants via U.S. mail and

electronic mail that provided notice of Defendants’ violations of state consumer protection statutes

and demanded that Defendants correct, repair, replace, or otherwise rectify the unlawful, unfair,

false, and/or deceptive practices complained of herein. The letter also stated that if Defendants

refused to do so, a complaint seeking damages would be filed.

            193.   Accordingly, Plaintiff, on behalf of herself and all other members of the Class, seek

compensatory damages, punitive damages, and restitution of any ill-gotten gains due to

Defendants’ acts and practices, according to the availability of relief under the applicable statutes.

                                              COUNT IV
                                    Breach of Express Warranty
                                        Against All Defendants
                            (on Behalf of Plaintiff and All Class Members)

            194.   Plaintiff realleges and incorporates by reference all paragraphs alleged above.

            195.   Plaintiff brings this claim individually and on behalf of all Class Members.

            196.   Defendants provided Plaintiff and other members of the Class with written, express

warranties that the Products conformed with the sustainability representations, which are easily

accessible to any consumer. See supra §§ I, III.

            197.   These affirmations of fact or promise by Defendants related to the goods and

became part of the basis of the bargain.

            198.   Plaintiff and members of the Class purchased the Products believing them to

conform to the express warranties.




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       199.    Defendants breached these warranties, resulting in damages to Plaintiff and other

members of the Class, who bought the Products but did not receive the goods as warranted.

       200.    As a proximate result of the breach of warranties by Defendants, Plaintiff and the

other members of the Class did not receive the goods as warranted. Moreover, had Plaintiff and

the Class members known the true facts, they would not have purchased the Products, or would

have purchased the Products on different terms, or would have purchased fewer of the Products.

       201.    Notice of these breaches of warranty was provided to Defendants on March 28,

2025, as described supra, which is incorporated here by reference as if fully set forth herein.

       202.    Plaintiff and the members of the Class, therefore, have been injured and have

suffered damages in an amount to be proven at trial.

                                          COUNT V
                                Breach of Implied Warranty
                                    Against All Defendants
                        (on Behalf of Plaintiff and All Class Members)

       203.    Plaintiff realleges and incorporates herein by reference all preceding paragraphs of

this Complaint as though set forth and at length herein.

       204.    Plaintiff brings this claim individually and on behalf of the Members of the

proposed Class against Defendants.

       205.    The Class and New York Subclass will proceed under New York law, while all

other state Subclasses will proceed, in the alternative, according to the state law where the

purchases were made.

       206.    Defendants routinely engage in the manufacture, distribution, and/or sale of the

Products and are merchants that deal in such goods or otherwise hold themselves out as having

knowledge or skill particular to the practices and goods involved.




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       207.    Plaintiff and Members of the Class and Subclasses were consumers who purchased

Defendants’ Products for the ordinary purpose of such products. In the alternative, Defendants

marketed the Products, and Plaintiff and Members of the Class and Subclasses purchased the

Products, for the specific purpose of receiving sustainably made Products that conformed to the

environmental representations, but received far less.

       208.    By representing that the Products would conform to the sustainability

representations, Defendants impliedly warranted to consumers that the Products were

merchantable, such that they were of the same average grade, quality, and value as similar goods

sold under similar circumstances.

       209.    The Products, however, were not of the same average grade, quality, and value as

similar goods sold under similar circumstances due to the forest degradation in the Products’

supply chain. Thus, they were not merchantable and, as such, would not pass without objection in

the trade or industry under the Product description.

       210.    As a direct and proximate result of Defendants’ breach, Plaintiff and Members of

the Class and Subclasses were injured because they paid money for the Products that would not

pass without objection in the trade or industry under the contract description.

                                          COUNT VI
                                      Unjust Enrichment
                                    Against All Defendants
                        (on Behalf of Plaintiff and All Class Members)

       211.    Plaintiff realleges and reincorporates by reference all paragraphs alleged above.

       212.    Plaintiff brings this claim individually and on behalf of the Class.

       213.    To the extent required by law, this cause of action is alleged in the alternative to

legal claims, as permitted under Fed. R. Civ. P. 8.




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         214.    Plaintiff and the members of the Class conferred benefits on Defendants by

purchasing the Products.

         215.    Defendants were unjustly enriched by receipt of these revenues derived from the

purchases of Plaintiff and the members of the Class.

         216.    Retention of those monies under these circumstances is unjust and inequitable

because Defendants misrepresented the Products as environmentally friendly when the Products’

supply chain contributes to forest degradation and other negative environmental consequences.

         217.    Retention of those monies under these circumstances is unjust and inequitable

because Defendants misrepresented the Products as RA certified when they are not.

         218.    Plaintiff   and members      of the Class      were damaged by Defendants’

misrepresentations because they would not have purchased the Products if the true facts were

known.

         219.    Because Defendants’ retention of the non-gratuitous benefits conferred on it by

Plaintiff and the members of the Class is unjust and violates the fundamental principles of justice,

equity, and good conscience, Defendants have been unjustly enriched in an amount to be

determined at trial.

         220.    Plaintiff and the members of the Class have no adequate remedy at law.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court enters judgment in her favor

and in favor of the Class as follows:

         A.     An order certifying the proposed Class; appointing Plaintiff as representative of the

Class and New York Subclass; and appointing Plaintiff’s undersigned counsel as class counsel for

the Class and all Subclasses;




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       B.    An order declaring that Defendants are financially responsible for notifying Class

Members of the pendency of this suit;

       C.    An order declaring that Defendants’ conduct violate the statutes referenced herein;

       D.    An order awarding monetary damages, including actual damages, statutory damages,

and punitive damages, in the maximum amount provided by law under the statutes named herein;

       E.    An order awarding compensation for breach of warranty;

       F.    An order for prejudgment interest on all amounts awarded;

       G.    An order awarding Plaintiff and the other Class Members the reasonable costs and

expenses of suit, including attorneys’ fees; and

       H.    Any further relief that the Court may deem appropriate.

                                  JURY TRIAL DEMANDED

      221.     Plaintiff hereby demand a trial by jury.

DATED: March 31, 2025                                   RICHMAN LAW & POLICY


                                                        _________________________
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